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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DAVID C. WARTH,

     Plaintiff,                            CIVIL ACTION FILE NO.
                                           1:23-cv-05072-MLB
v.

THOMAS WILLIAMSON,

 Defendant.



     DEFENDANT’S INDEX OF EXHIBITS TO BREIF IN SUPPORT OF
           MOTION FOR SUMMARY JUDGMENT – PART I
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2.    Ex. B – Thomas Williamson Deposition Excerpts;
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